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UNITED STATES DISTRICT COURT

 

DISTRICT OF RHODE ISLAND
CAROLYN CARTER
Plaintiff CASE NO. 1:16-cV-00138-M-PAS
VS.
UNITED STATES OF AMERICA MARCH 21, 2016
Defendant
AMENDED COMPLAINT
JURISDICTION AND VENUE

l. This action is brought pursuant to 28 U.S.C. §2671 et seq. and 28 U.S.C.
l346(b)(l) for injuries sustained on February 1, 2012 in NeWport, Rhode Island.

2. On January 15, 2014, the plaintiff submitted an Administrative Clairn to the
United States.

3. On February 24, 2016 the Department of the Navy formally denied the plaintiff s
Adrninistrative Claim.

4. As Such, all conditions precedent to a Federal Tort Clairn have been met pursuant
to 28 U.S.C. §2401(b).

5. Venue is proper in this district pursuant to 28 U.S.C. §1391, as the injury occurred

Within the State of Rhode ISland.

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FACTS
COUNT ONE:

1. On or about February 1, 2012, Edmund Ganal, l\/I.D. Was a United States naval
physician acting Within the scope of his employment, agency and/or apparent agency as a United
States naval physician on behalf of the defendant, United States of America (hereinafter referred
to as the “defendant”) With privileges to perform surgery at the NeWport Hospital.

2. On said date, the plaintiff, Carolyn Carter underwent a repair of her right arm and
shoulder after consulting With the defendant’s employee, servant, agent and/ or apparent agent,
Edmund Ganal, M.D., Which procedure Was performed at NeWport Hospital in NeWport, Rhode
Island, by Dr. Edmund Ganal and Dr. David Burnil<el.

3. At all times relevant hereto, the defendant’s employee, servant, agent and/or
apparent agent , Edmund Ganal, M.D., held himself out as capable of performing the repair of
the right arm and shoulder and that he had the skill, education and training to perform the
procedure pursuant to the standard of care.

4. During the attempted repair of the right arm and shoulder, the plaintiff sustained
an injury to the nerves in her arm.

5. Upon information and belief, said injury occurred When Dr. Ganal and/or Dr.

Burnil<el caused injury to the plaintiff s nerves.

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6.

As a consequence of said action the plaintiff was diagnosed post operativer with

a cutaneous nerve rupture of the right arm.

7.

As a result of the injury incurred during the surgery, the plaintiff required a

additional surgery.

8.

The defendant, United States of America, was negligent in that the defendant’s

employee, servant, agent and/or apparent agent Edmund Ganal Was negligent and careless in that

he deviated from the standard of care in one or more of the following ways, in that he:

3..

b.

failed to properly identify the area to be repaired;
failed to clearly identify and protect the nerve from injury;
failed to differentiate between nerve and the bicep tendon;

failed to repair the area of injury with due care by pulling on said nerve without
properly identifying and confirming the anatomy prior thereto;

lacked the skill, training, expertise and past experience necessary to perform the
operation upon the plaintiff;

failed to employ a mentor and/or co-surgeon With the skill, training, expertise and
past experience necessary to assist in performing the operation upon the plaintiff;

failed to take appropriate steps to prevent further harm to the plaintiff;
caused injury to the plaintiff s nerves;
failed to adequately assess which nerves Were inj ured;

failed to call for an intra~operative consultation;

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k. failed to provide adequate exposure to perform the procedure safely; and
l. failed to recognize the injury once it occurred
9. As a result of the defendant’s employee, servant, agent and/or apparent agent,

Edmund Ganal’s negligence, carelessness and deviation from the standard of care, the plaintiff

suffered the following injuries, some or all of which may be permanent in nature:

a. Direct and/ or indirect injury to the cutaneous nerve and ulnar nerve of the
right arm;

b. Ulnar nerve scarring; and

c. Ulnar nerve palsy causing weakness and loss of sensation in the right

forearm and right hand.

10. As a result of the defendant’s employee, servant, agent and/ or apparent agent,
Edmund Ganal’s negligence, carelessness and deviation from the standard of care, on February
13, 2012, the plaintiff was admitted to Rhode Island Hospital for a surgery to repair the injury to
the nerve in her right arm.

11. As a result of the defendant’s employee, servant, agent and/or apparent agent,
Edmund Ganal’s negligence, carelessness and deviation from the standard of care, the plaintiff
has required orthopedic care, surgery, anesthesia, radiological studies, neurological evaluation,
EMG studies, hand therapy, immobilization devices, and prescription pain medication

12. The plaintiffs injuries are permanent in nature and will be the cause of future

pain and disability. The plaintiff has suffered and in the nature Will continue to suffer great

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physical and mental pain. In addition, the plaintiff has and will in the future suffer from a fear of
a fixture disability.

13. At the time he received the aforesaid inj uries, the plaintiff was gainfully
employed As a further result of the injuries she received, the plaintiff has missed time from her

employment, has sustained lost Wages and has suffered a permanent impairment of her earning

capacity.
COUNT TWO:
1. On or about February 1, 2012, David Burnil<el, M.D. was a United States naval

physician acting within the scope of his employment, agency and/or apparent agency as a United
States naval physician on behalf of the defendant, United States of Arnerica (hereinafter referred
to as the “defendant”) with privileges to perform surgery at the NeWport Hospital.

2. On said date, the plaintiff, Carolyn Carter underwent a repair of her right arm and
shoulder after consulting with the defendant’s employee, servant, agent and/or apparent agent,
Edmund Ganal, M.D., Which procedure was performed at NeWport Hospital in NeWport, Rhode
Island, by Dr. Edmund Ganal and Dr. David Burnil<el.

3. At all times relevant hereto, the defendant’s employee, servant, agent and/or

apparent agent, David Burnikel, M.D., held himself out as capable of performing the repair of the

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right arm and shoulder and that he had the skill, education and training to perform the procedure
pursuant to the standard of care.

4. During the attempted repair of the right arm and shoulder, the plaintiff sustained
an injury to the nerves in her arm.

5 . Upon information and belief, said injury occurred when Dr. Ganal and/or Dr.
Burnikel caused injury to the plaintiffs nerves.

6. As a consequence of said action the plaintiff was diagnosed post operatively With
a cutaneous nerve rupture of the right arm.

7. As a result of the injury incurred during the surgery, the plaintiff required a
additional surgery.

8. The defendant’s employee, servant, agent and/or apparent agent, David Burnikel
was negligent and careless in that he deviated from the standard of care in one or more of the
following ways, in that he:

a. failed to properly identify the area to be repaired;
b. failed to clearly identify and protect the nerve from inj ury;
c. failed to differentiate between nerve and the bicep tendon;

d. failed to repair the area of injury With due care by pulling on said nerve without
properly identifying and confirming the anatomy prior thereto;

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9.

lacked the skill, training, expertise and past experience necessary to perform the
operation upon the plaintiff;

failed to employ a mentor and/or co-surgeon with the skill, training, expertise and
past experience necessary to assist in performing the operation upon the plaintiff;

failed to take appropriate steps to prevent hirther harm to the plaintiff;

. caused injury to the plaintiffs nerves ;

failed to adequately assess which nerves Were injured;

failed to call for an intra-operative consultation;

failed to provide adequate exposure to perform the procedure safely; and
failed to recognize the injury once it occurred.

As a result of the defendant’s employee, servant, agent and/or apparent agent,

David Burnil<el’s negligence, carelessness and deviation from the standard of care, the plaintiff

suffered the following inj uries, some or all of which may be permanent in nature:

10.

a. Direct and/or indirect injury to the cutaneous nerve and ulnar nerve of the
right arrn;

b. Ulnar nerve scarring; and

c. Ulnar nerve palsy causing weakness and loss of sensation in the right

forearm and right hand.

As a result of the defendant’s employee, servant, agent and/or apparent agent,

David Burnikel’s negligence, carelessness and deviation from the standard of care, on February

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13, 2012, the plaintiff Was admitted to Rhode Island Hospital for a surgery to repair the injury to
the nerve in her right arrn.

11. As a result of the defendant’s employee, servant, agent and/or apparent agent,
David Burnil<el’s negligence, carelessness and deviation dorn the standard of care, the plaintiff
has required orthopedic care, surgery, anesthesia, radiological studies, neurological evaluation,
EMG studies, hand therapy, immobilization devices, and prescription pain medication

12. The plaintiffs injuries are permanent in nature and will be the cause of future
pain and disability. The plaintiff has suffered and in the future will continue to suffer great
physical and mental pain. In addition, the plaintiff has and will in the future suffer from a fear of
a future disability.

13. At the time he received the aforesaid inj uries, the plaintiff was gainfully
employed As a further result of the injuries she received, the plaintiff has missed tirne from her

employment, has sustained lost wages and has suffered a permanent impairment of her earning

capacity.

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THE PLAINTIFF

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WHEREFORE, the plaintiff claims:
l. Money damages;

2. Such other relief as the Court deems just.

THE PLAINTIFF

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UNITED STATES DISTRlCT COURT

DISTRICT OF RHODE ISLAND
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VS.
UNITED STATES OF AMERICA MARCH 21, 2016
Defendant

STATEMENT OF AMOUNT IN DEMAND

The amount of legal interest or property in demand, exclusive of attorney’s fees, costs
and interest, is in excess of Seventy-Five Thousand Dollars ($75,000.00).

THE PLAINTIFF

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